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                                         1 [Attorneys On Next Page]
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                                         8                             UNITED STATES DISTRICT COURT
                                         9                           CENTRAL DISTRICT OF CALIFORNIA
                                        10                                       WESTERN DIVISION
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                                        12 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
                                           and LIVEWIRE SERVICES, INC., a
F ENWICK & W ES T LLP




                                        13 Nevada corporation,                   EMERGENCY SUPPLEMENTAL
                        LAW




                                                                                 BRIEF IN SUPPORT OF
                         AT




                                        14                 Plaintiffs,
                        ATTO RNEY S




                                                                                 PLAINTIFFS’ EX PARTE
                                                                                 APPLICATION TO EXTEND CASE
                                        15       v.                              DEADLINES TO ACCOMMODATE
                                                                                 EFFECTS OF DISCOVERY
                                        16 PERFECT 10, INC., a California        ORDERS
                                           corporation; NORMAN ZADA, an
                                        17 individual; and DOES 1-50, inclusive,
                                                                                 Discovery Cut-off: Sept. 10, 2018
                                        18                 Defendants.           Trial Date:        January 15, 2019
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                                             SUPP. BRIEF RE EX PARTE APPLICATION TO EXTEND
                                                                                                    CASE NO.: 2:17-cv-05075-AB (JPR)
                                             CASE DEADLINES
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                         AT




                                        14 GIGANEWS, INC. and LIVEWIRE SERVICES, INC.
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                                             SUPP. BRIEF RE EX PARTE APPLICATION TO
                                             EXTEND CASE DEADLINES                    1        CASE NO.: 2:17-cv-05075-AB (JPR)
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                                         1                                                MEMORANDUM
                                         2             Plaintiffs file this supplemental memorandum to apprise the Court of
                                         3 developments relevant to their request to extend scheduling order deadlines to
                                         4 accommodate discovery ordered by the Magistrate Judge. Plaintiffs filed their ex
                                         5 parte application to extend case deadlines to accommodate the effects of the Court’s
                                         6 recent discovery orders on September 18, 2018. Dkt. 81. On September 24, 2018,
                                         7 Defendants produced the first tranche of documents and information due under the
                                         8 Court’s recent discovery order.
                                         9             This production included native electronic versions of certain financial
                                        10 documents, including some associated metadata. These documents show that mere
                                        11 hours after this Court entered the fee award in the copyright case, Mr. Zada and his
                                        12 bookkeeper worked to create and backdate documents that mischaracterize key
F ENWICK & W ES T LLP




                                        13 transactions at issue in this case.1 These falsified financial documents present
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                         AT




                                        14 strong evidence of fraud.
                        ATTO RNEY S




                                        15             Plaintiffs currently intend to retain a forensic computer expert to investigate
                                        16 and opine as to the documents. The current schedule requires disclosure of opening
                                        17 expert reports in two days, on September 27, 2018. Retaining such an expert to
                                        18 prepare a report will require additional time. Any proposed expert cannot even
                                        19 review the documents at issue until the objection period under the protective order
                                        20 has passed. See Dkt. 44 ¶¶ 5, 6, & 8.
                                        21             For these additional reasons, Plaintiffs respectfully request the Court grant
                                        22 the schedule extensions proposed in the ex parte application.
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                                        27  The documents are designated under the protective order. Plaintiffs will therefore
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                                           not disclose the contents of the documents, but will lodge them under seal if the
                                        28 Court so requests.
                                                 SUPP. BRIEF RE EX PARTE APPLICATION TO
                                                 EXTEND CASE DEADLINES                        2           CASE NO.: 2:17-cv-05075-AB (JPR)
                                      Case 2:17-cv-05075-AB-JPR Document 88 Filed 09/25/18 Page 4 of 4 Page ID #:4015



                                         1 Dated: September 25, 2018                  FENWICK & WEST LLP
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                                         3                                            By: s/ Todd R. Gregorian
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                                                                                      SERVICES, INC.
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F ENWICK & W ES T LLP




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                                             SUPP. BRIEF RE EX PARTE APPLICATION TO
                                             EXTEND CASE DEADLINES                       3             CASE NO.: 2:17-cv-05075-AB (JPR)
